                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

UNITED STATES OF AMERICA
       V.                                               CASE NUMBER: 3:01CR31-10

Darius Fredricko Drummer


       THIS MATTER is before the Court sua sponte.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

transport & produce the body of Defendant, Darius Fredricko Drummer (USM#

16580-058), for a resentencing hearing before the honorable Max O. Cogburn, Jr., in the

Western District of North Carolina, Charlotte not later than June 18, 2013, and upon

completion of the resentencing hearing, Defendant is to be returned to the custody of the

Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.

                                                      Signed: May 20, 2013




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